AO 245 B (Rev. 09/08) Sheet 1 - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

JUDGMENT IN A CRIMINAL CASE

VS.
ROSS SCARANTINO CASE NUMBER: 3:CR-09-166
USM NUMBER: 15029-067
FRANK W. NOCITO, ESQ.
PHILIP GELSO, ESQ.
Defendant's Attorney
THE DEFENDANT:
[x] pleaded guilty to count_one (1) .
[ ] pleaded nolo contendere to count(s)
which was accepted by the court.
[ ] was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Count
Title/Section Nature of Offense Offense Ended Number(s)
18:666(a)(1)(B) Cormpt Receipt of Reward for Official Action Concerning February 2008 Ct. 1.

Program Receiving Federal Funds

The defendant is sentenced as provided in pages 2 through_5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
[{ ] The defendant has been found not guilty on count(s) .
[ ] Count(s) (is)(are) dismissed on the motion of the United States.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence or, mailing address until all fines, restitution, costs and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
change in economic circumstances.

OCTOBER 8, 2009
Date of Imposition of Sentence

THOMAS I. VANASKIE
UNITED STATES DISTRICT JUDGE

10 -(3 -of

Date

AO 245 B (Rev.09/08) Judgment in a Criminal Case, Shcet 2 - Imprisonment

Defendant: ROSS SCARANTINO Judgment-Page 2 of _5
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
thirteen (13) months.

[X] The court makes the following recommendations to the Bureau of Prisons: The Court recommends that the Bureau of Prisons
designate the least-restrictive facility in proximity to the defendant’s home in Duryea, Pa. as the place of service of this sentence.

{ ] The defendant is remanded to the custody of the United States Marshal.
[ ] The defendant shall surrender to the United States Marshal for this district.

[ J at a.m./p.m. on
[ ] as notified by the U.S. Marshal.
[X] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
[X] before 2 p.m. on November 10,2009 _.
[ ] as notified by the United States Marshal.
[ ] as notified by the probation office.
[X] The defendant is to contact the United States Marshal's Office no later than three days prior to the above date to be notified of the place
of confinement.

RETURN
I have executed this judgment as follows:

Defendant delivered on. to at

, with a certified copy of this judgment.

United States Marshal

By.

Deputy Marshal
AO 245 B (Rev. 09/08) Judgment in a Criminal Case, Sheet 3 - Supervised Release

Defendant: ROSS SCARANTINO Judgment-Page 3 of 5 _
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SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of _two (2) years,

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[X] The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
substance abuse. (Check, if applicable.)

[X] The defendant shall not possess a firearm, ammunition destructive device, or any other dangerous weapon.

[X] The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).

[ ] The defendant shall comply with the requirement of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,et seq.)
as directed by the probation officer, The Bureau of Prisons, or any state sex offender registration agency in which he or she resides
works, is a student, or was convicted of a qualifying offense. (Check, if applicable).

[ ] The defendant shall participate in an approved program for domestic violence. (Check, if applicable).

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

THE COURT FINDS that the defendant has the ability to pay a fine.

IT IS ORDERED that the defendant shall pay to the Clerk, U.S. District Court, the sum of $15,100 consisting of a special assessment
of $100, due immediately, and a fine of $15,000. The fine shall be paid within fifteen (15) days of the entry of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached pages.

STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance, or any paraphernalia related to such controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time a home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency
without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
14) the defendant shall notify the Court of any material change in the defendant’s economic circumstances that might affect
the deft’s ability to pay restitution, fines or special assessments.
Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

(Signed)

Date

U.S. Probation Officer/Designated Witness Date

AO 245 B (Rev. 09/08) Judgment in a Criminal Case, Sheet 5 - Criminal Monetary Penalties

Defendant: ROSS SCARANTINO Judgment-Page _4 of 5
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
Totals: $100.00 $15,000 $
[ ] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245 C) will be entered

after such determination.

[ ] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column below. However, pursuant to 18 U.S.C. 3664(i), all non federal victims must be paid before the United States is paid.

NAME OF PAYEE TOTAL LOSS RESTITUTION ORDER PRIORITY OF PERCENTAGE

TOTALS

[ ] Restitution amount ordered pursuant to plea agreement $

[ ] The defendant shall pay interest on restitution and fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. 3612(g).

{ ] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
[ ] the interest requirement is waived for the [] fine [ ] restitution.
[ ] the interest requirement for the [ ] fine [ ] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, for offenses committed
on or after September 13, 1994 but before April 23, 1996.
AO 245 B (Rev. 06/05) Judgment in a Criminal Case, Sheet 6, Part B-Financial Penalties

Defendant: ROSS SCARANTINO Judgment-Page 5 of _5
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SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [] Lump sum payment of $ due immediately, balance due
[ ] not later than or
[ ] in accordance with [] C,[]D,[] E[] F below; or
B [ ] Payment to begin immediately (may be combined with [ ] C, [ ] D, or [ ] F below): or

C [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of
Supervision; or
E [] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F [X] The defendant shall pay to the Clerk, U.S. District Court, the sum of $15,100 consisting of a special assessment of $100, due
immediately, and a fine of $15,000. The fine shall be paid within fifteen (15) days of the entry of this judgment.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[ ] Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[ ] The defendant shall pay the cost of prosecution.
[ ] The defendant shall pay the following court cost(s):

( ] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5)community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.
